Filed 04/16/25                          Case 25-20501                               Doc 39



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Stephen Donald Favis      Case No.: 25-20501 - C - 7
                                                  Docket Control No. JMV-1
                                                  Date: 04/16/2025
                                                  Time: 10:00 AM

            Matter: [33] - Report of Trustee at Sec. 341(a) Meeting and
            Trustee's Motion to Dismiss for Failure to Appear at Sec. 341(a)
            Meeting and Motion to Extend the Deadlines for Filing Objections to
            Discharge and Motions to Dismiss [JMV-1]. Debtor Did Not Appear;. The
            continued Sec. 341(a) Meeting to be held on 4/18/2025 at 11:00 AM via
            Zoom - Vetter: Meeting ID 996 842 7742, Passcode 6976282337, Phone 1
            (661) 679-8541. (Vetter, Jeffrey)

            Judge: Christopher M. Klein
            Courtroom Deputy: Lindsey Peratis
            Reporter: Electronic Record
            Department: C
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            (by zoom) Trustee - Jeffrey M. Vetter
            Respondent(s):
            None
            _____________________________________________________________________
                                        CIVIL MINUTES


           Motion Granted; Case Dismissed
           Findings of fact and conclusions of law stated orally on the record


                 The court will issue an order.
